                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                            3:20-CR-00203-RJC-DCK
 USA                                           )
                                               )
    v.                                         )               ORDER
                                               )
 JUSTIN PARKS (3)                              )
                                               )

          THIS MATTER is before the Court upon motion of the defendant to extend

the deadline for filing objections to the Presentence Investigation Report until

January 25, 2021, and to have the defendant transported to counsel’s office from the

jail, where he is in Respiratory Quarantine. (Doc. No. 98).

          The Court finds that the defendant has stated sufficient cause to extend the

deadline in this case.

          IT IS, THEREFORE, ORDERED that the defendant’s motion is

GRANTED in part. The defendant shall file any objections, grounds for variance,

or corrections on or before January 25, 2021.

          IT IS FURTHER ORDERED that the defendant’s included request for

secure transport is held in abeyance pending the government’s response.

          The Clerk is directed to certify copies of this order to the defendant, counsel

for the defendant, to the United States Attorney, and the United States Probation

Office.

 Signed: January 11, 2021




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